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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN


    SAFE SKIES CLEAN WATER
    WISCONSIN, INC.,

                               Plaintiff,
                                                              Case No. 3:20-cv-1086-wmc
                   v.

    NATIONAL GUARD BUREAU, et al.,

                               Defendants.


                                             ANSWER



        Pursuant to Federal Rules of Civil Procedure 8 and 12, defendants National Guard Bureau

and General Daniel R. Hokanson, Chief, National Guard Bureau (collectively “Defendants”)

hereby answer Plaintiff’s Complaint, ECF No. 1. The numbered paragraphs and sections of this

Answer correspond to the numbered paragraphs and sections of the Complaint.

                                      INTRODUCTION1

        1.     The allegations in this Paragraph consist of Plaintiff’s characterizations of its

claims, to which no response is required. To the extent a response is required, Defendants deny

the allegations.

        2.     This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny those allegations.

        3.     Defendants admit that the National Guard Bureau (“NGB”) was established as a



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       The headings in this Answer correspond to the major headings in the Complaint, and
Defendants include them solely to provide convenient reference to the Complaint. They do not
form any part of the Answer. To the extent the headings in the Complaint or the Answer include
substantive allegations, Defendants deny them.
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joint activity of the Department of Defense (“DoD”). Defendants further admit that DoD

Directive 5105.77 describes the organization and management of the NGB to include the

Director of Air National Guard (“ANG”).

       4.      Defendants admit the allegations in this Paragraph.

       5.      Defendants admit the allegations in this Paragraph.

       6.      This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the allegations in this

Paragraph.

                                       JURISDICTION

       7.      Defendants admit that 28 U.S.C. § 1331 confers jurisdiction on this Court to hear

claims “arising under” the laws of the United States. The remaining allegations in this

Paragraph provide Plaintiff’s legal conclusions, to which no response is required. To the extent

a response is required, Defendants deny the allegations in this Paragraph.

       8.      This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the allegations in this

Paragraph.

       9.      This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the allegations in this

Paragraph.

                                            VENUE

       10.     This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the allegations in this

Paragraph.



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                                           PARTIES

       11.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       12.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       13.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       14.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       15.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       16.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       17.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       18.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       19.     Defendants admit the allegations in this Paragraph.

       20.     Defendants admit that the NGB is an agency of the federal government. The

remaining allegations in this Paragraph purport to quote and/or characterize Federal statutes and

regulations. Those laws are the best evidence of their contents and Defendants deny any

allegations inconsistent with them. Otherwise, the allegations in this Paragraph are legal

conclusions to which no response is required. To the extent a response is required, Defendants



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deny those allegations.

        21.     Defendants admit the allegations in this Paragraph.

        22.     Defendants admit the allegations in this Paragraph.

                                    FACTUAL BACKROUND

                             The 115th Fighter Wing and the Project

        23.     Defendants admit the allegations in this Paragraph.

        24.     Defendants admit the allegations in this Paragraph.

        25.     Defendants admit that in 2015 a preliminary assessment (“PA”) was conducted

at Truax Field, and that a site inspection (“SI”) was conducted at Truax Field and finalized in

March of 2019. The remaining allegations in this Paragraph purport to quote and characterize

the PA and SI, which speak for themselves and are the best evidence of their contents; to the

extent the allegations are inconsistent with the PA and SI they are denied.

        26.      The allegations in this Paragraph purport to quote and characterize the SI, which

speaks for itself and is the best evidence of its contents; to the extent the allegations in this

Paragraph are inconsistent with the SI they are denied.

        27.     The allegations in this Paragraph purport to quote and characterize the SI, which

speaks for itself and is the best evidence of its contents; to the extent the allegations in this

Paragraph are inconsistent with the SI they are denied.

        28.     Defendants admit the allegations in this Paragraph.

        29.     The allegations in this Paragraph purport to quote and characterize the Project’s

Environmental Assessment (“EA”), which speaks for itself and is best evidence of its contents;

to the extent the allegations are inconsistent with the EA, they are denied.

        30.     Defendants deny the allegations in this Paragraph.



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       31.     Defendants admit the allegations in this Paragraph.

       32.     Defendants admit the allegations in this Paragraph.

       33.     Defendants admit the allegations in this Paragraph.

       34.     Defendants admit that the Environmental Impact Statement for the F-35A

Operation Beddown Air National Guard was finalized in February 2020 and that the EA for

Construction and Demolition Projects at the 115th Fighter Wing Installation, Dane County

Regional Airport, Madison, Wisconsin, was finalized in October 2019. Defendants deny the

remaining allegations in this Paragraph.

       35.     Defendants admit the allegations in this Paragraph.

       36.     Defendants deny the allegations in this Paragraph.

       37.     Defendants deny the allegations in this Paragraph.

              The City of Madison’s Drinking Water Supply and PFAS in Wells

       38.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       39.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       40.     Defendants admit the allegations in this Paragraph.

       41.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       42.     The allegations this Paragraph purport to quote and characterize the SI, which

speaks for itself and is best evidence of its contents; to the extent the allegations are inconsistent

with the SI, they are denied.




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                      The 303(d) Impaired Waters in the Madison Area

       43.     Defendants admit the allegations in this Paragraph.

       44.     Defendants admit the allegations in this Paragraph.

       45.     Defendants deny the allegations in this Paragraph.

       46.     Defendants deny the allegations in this Paragraph.

                                    CLAIMS FOR RELIEF

                                         Count I
       Violation of NEPA – Failure to Prepare an Environmental Impact Statement

       47.     Defendants adopt by reference their responses to Paragraphs 1 through 46.

       48.     The allegations in this Paragraph purport to quote and/or characterize a Federal

statute. That statute is the best evidence of its contents and Defendants deny any allegations

inconsistent with it. Otherwise, the allegations in this Paragraph are legal conclusions to which

no response is required. To the extent a response is required, Defendants deny those allegations.

       49.     This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny those allegations.

       50.     This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny those allegations.

                                        Count II
    Violation of NEPA – Failure to Prepare a Supplemental Environmental Assessment

       51.     Defendants adopt by reference their responses to Paragraphs 1 through 50.

       52.     The allegations in this Paragraph purport to quote and/or characterize Federal

regulations. Those regulations are the best evidence of their contents and Defendants deny any

allegations inconsistent with them. Otherwise, the allegations in this Paragraph are legal

conclusions to which no response is required. To the extent a response is required, Defendants



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deny those allegations.

       53.     Defendants admit that the National Guard Bureau received a letter from the

Wisconsin Department of Natural Resources in October 2019. Defendants lack information

sufficient to form a belief as to the truth of the remaining allegations in this Paragraph, and

therefore deny those allegations.

       54.     Defendants admit the allegations in this Paragraph.

       55.     Defendants deny the allegations in this Paragraph.

       56.     Defendants admit the allegations in this Paragraph.

       57.     The allegations in this Paragraph are legal conclusions to which no response is

required. To the extent a response is required, Defendants deny those allegations.

                                         Count III
                   Violation of NEPA – Improper Segmentation of Projects

       58.     Defendants adopt by reference their responses to Paragraphs 1 through 57.

       59.     The allegations in this Paragraph purport to quote and/or characterize a Federal

statute. That statute is the best evidence of its contents and Defendants deny any allegations

inconsistent with it. Otherwise, the allegations in this Paragraph are legal conclusions to which

no response is required. To the extent a response is required, Defendants deny those allegations.

       60.     Defendants deny the allegations in this Paragraph.

       61.     The allegations in this Paragraph purport to quote and/or characterize Federal

regulations. Those regulations are the best evidence of their contents, and Defendants deny any

allegations inconsistent with them. Otherwise, the allegations in this Paragraph are legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny those allegations.

       62.     Defendants deny the allegations in this Paragraph.

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       63.     Defendants deny the allegations in this Paragraph.

       64.     Defendants deny the allegations in this Paragraph.

       65.     Defendants deny the allegations in this Paragraph.

                                         Count IV
                Violation of NEPA – Failure to Consider Cumulative Impacts

       66.     Defendants adopt by reference their responses to Paragraphs 1 through 65.

       67.     The allegations in this Paragraph purport to quote and/or characterize Federal

regulations. Those regulations are the best evidence of their contents and Defendants deny any

allegations inconsistent with them. Otherwise, the allegations in this Paragraph are legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny those allegations.

       68.     Defendants deny the allegations in this Paragraph.

       69.     Defendants deny the allegations in this Paragraph.

       70.     Defendants deny the allegations in this Paragraph.

       71.     Defendants deny the allegations in this Paragraph.

                                        Count V
        Violation of NEPA – Failure to Adequately Consider Environmental Justice

       72.     Defendants adopt by reference their responses to Paragraphs 1 through 71.

       73.     The allegations in this Paragraph purport to quote and/or characterize Federal

regulations. Those regulations are the best evidence of their contents and Defendants deny any

allegations inconsistent with them. Otherwise, the allegations in this Paragraph are legal

conclusions to which no response is required. To the extent a response is required, Defendants

deny those allegations.

       74.     Defendants deny the allegations in this Paragraph.



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       75.     Defendants deny the allegations in this Paragraph.

       76.     Defendants deny the allegations in this Paragraph.

       77.     Defendants admit the investigation recommended by the SI has not been

completed. Defendants deny the remaining allegations in this Paragraph.

       78.     Defendants lack information sufficient to form a belief as to the truth of the

allegations in this Paragraph, and therefore deny those allegations.

       79.     Defendants deny the allegations in this Paragraph.

                                         Count VI
               Violation of NEPA – Failure to Adequately Address Alternatives

       80.     Defendants adopt by reference their responses to Paragraphs 1 through 79.

       81.     Defendants deny the allegations in this Paragraph.

                                          Count VII
             Violation of NEPA – Failure to Adequately Consider Climate Change

       82.     Defendants adopt by reference their responses to Paragraphs 1 through 81.

       83.     Defendants deny the allegations in this Paragraph.

       84.     Defendants deny the allegations in this Paragraph.

       85.     Defendants deny the allegations in this Paragraph.

       86.     Defendants deny the allegations in this Paragraph.

                                     Count VIII
     Violation of NEPA and the APA – Failure to Provide Adequate Notice and Public
                                    Participation

       87.     Defendants adopt by reference their responses to Paragraphs 1 through 86.

       88.     Defendants deny the allegations in this Paragraph.

       89.     Defendants admit that notices were included in the print edition of the Wisconsin

State Journal on April 7, 2019 and April 21, 2019. Defendants deny the remaining allegations in



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this Paragraph.

          90.    Defendants deny the allegations in this Paragraph.

          91.    This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny those allegations.

                                            Count IX
                          Violation of the Administrative Procedure Act

          92.    Defendants adopt by reference their responses to Paragraphs 1 through 91.

          93.    This Paragraph provides Plaintiff’s legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny those allegations.

                                      DEMAND FOR RELIEF

          Paragraphs 1 through 4, under the caption “Demand for Relief,” provide Plaintiff’s

prayers for relief. To the extent the Federal Rules of Civil Procedure or this Court require a

response, Defendants deny that Plaintiff is entitled to the relief requested or to any relief

whatsoever.

                                        GENERAL DENIAL

          All of the allegations in Plaintiff’s Complaint which have not been specifically

admitted, denied, or otherwise answered are hereby denied.

                                             DEFENSES

          1.     Plaintiff lacks standing to assert the claims alleged in the Complaint.

          2.     Plaintiff fails to state a claim upon which relief can be granted.

          3.     Plaintiff has failed to exhaust its administrative remedies for some or all of its

claims.

                                               PRAYER

          For the foregoing reasons, Defendants request that the Court dismiss the Complaint in its

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entirety, render judgment for Defendants and against Plaintiff, and grant Defendants such other

and further relief that the nature of the case and justice requires.



         Respectfully submitted this 12th day of February, 2021,

                                               JEAN E. WILLIAMS
                                               Acting Assistant Attorney General
                                               United States Department of Justice
                                               Environment & Natural Resources Division

                                               /s/ Gregory M. Cumming
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